
Wheeler, J.
The matter pleaded by the defendant manifestly presented ro defense to the action. That the note may have been transferred to the plaintiff for two-thirds of its value did not render the contract sued on usurious.
We must suppose that tlie testimony of the witness was sought for the purpose of proving the truth of tlie pleii. But tlie matter pleaded, if proved, not constituting any ground of defense, the testimony could have been of no avail to tlie defendant. It is not error to refuse a continuance for tbe purpose of obtaining testimony which, when obtained, cannot benefit the party seeking it.
We are of opinion that the court did not err in refusing a continuance, and that the judgment he affirmed.
Judgment affirmed.
